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                   EXHIBIT B




                                                                      Exhibit B, Page 7
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         l   Ramin R. Younessi, Esq. (SBN 175020)
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                                                                                    .FILED
                                                                             Sup@rlor Co11rt of Cullfornla
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                                                                        ~y     ~                      ,Deput
         5   Attorney for Plaintiff                                              Qit11 N11711T\''l~
             ALEJANDRO GARCIA PUENTES, on
        6    behalf of himself, and all others similarly situated,
         7                                                                                                      BYFAX
         8
                                   SUPERIOR COURT OF THE ST ATE OF CALIFORNIA
         9
                              FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT
        10
        11
             ALEJANDRO GARCIA PUENTES, on behalf
             of himself, and all others similarly situated,          Case No.   20ST CV/438~6
                                                                     CLASS ACTION COMPLAINT FOR:
        12                                 Plaintiff,
                                                                     1. MISCLASSIFICATION OF EMPLOYEE
        13           V.                                                 AS "INDE PENDENT CONTRACTOR."

        14   AMAZON.COM SERVICES LLC, a Delaware                     2. FAILURE TO PAY WAGES (CAL. LABOR
             limited liability company; AMAZON FLEX, a                  CODE §§201, 226.7, 512, 1194);
        15   business entity of unknown form; and DOES l
             through 20, inclusive,                                  3. FAIL URE TO PAY MINIMUM WAGES
        16   I                                                          (CAL. LABOR CODE §§1182.12, 1194,
                                           Defendants.                  1194.2, 1197);
        17
                                                                     4. FAILURE TO INDEMNIFY FOR
        18                                                              NECESSARY BUSINESS EXPENSES (CAL.
                                                                        LABOR CODE §2802)
        19
                                                                     5. FAILURE TO PROVIDE MEAL AND REST
        20                                                              PERIODS (CAL. LABOR CODE §§226.7,
                                                                        512);
        21
                                                                     6. FAILURE TO PROVIDE ITEMIZED
        22                                                              WAGE AND HOUR STATEMENTS (CAL.
,_.
,_,                                                                     LABOR CODE §§226, ET SEQ.);
,_.     23
                                                                     7. WAITING TIME PENALTIES (CAL.
   J
..__    24                                                              LABOR CODE §§201-203); AND
tv
a:,                                                                  8. UNFAIR COMPETITION (BUS. & PROF.
,,_,    25
c:P                                                                     CODE §17200 ET SEQ.);
        26
                                                                     DEMAND OVER $25,000
        27
                                                                     [DEMAND FOR JURY TRIAL]
        28



                                                                 - 1-
                                                        COMPLAJNT FOR DAMAGES

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                  l          Plaintiff ALEJANDRO GARCIA PUENTES, individually on behalf of himself, and all other
                 2    similarly situated employees, hereby filed this Complaint against Defendants AMAZON.COM
                 3    SERVICES LLC, a Delaware limited liability company, AMAZON FLEX, a business entity of unknown
                 4    form, and DOES 1 through 20 (hereinafter collectively referred to as "Defendants"). Plaintiff is informed

                  5   and believes, and thereon alleges as follows:

                 6
                  7                                                 INTRODUCTION
                  8           l.        This is a civil action seeking recovery for Defendants' violations of the California Labor
                 9    Code, California Business and Professions Code ("B&PC"), the applicable Wage Orders issued by the
                 10   California Industrial Welfare Commission (hereinafter, the "IWC Wage Orders") and related common

                 11   law principles.

                12           2.         Plaintiff brings this class action on behalf of all non-exempt employees (collectively

                 13   referred to herein as "Class Members") employed by Defendants and Does 1-20 in California from the
                 14   date four years prior to the filing of this Complaint through the date of trial in this action.

                 15          3.         Plaintiff seeks monetary damages and injunctive relief, including full restitution from

                 16   Defendants as a result of Defendants' unlawful, fraudulent and/or unfair business practices.

                 17           4.        The acts complained of herein occurred, occur and will occur, at least in part, within the

                 18   time period from four (4) years preceding the filing of the original Complaint herein, up to and through

                 19   the time of trial for this matter although this should not automatically be considered the statute of
...             20    limitations for any cause of action herein.

                21
                22                                             RELEVANT JOB TITLES
      .......
      ,......
                23            5.        For introductory and general information only (and not to be considered a proposed class
      ,......
      ....,           definition), the relevant job titles held by the California citizens in this action are Defendants' "delivery
                24
      tv
      GJ        25    driver" employees (hereinafter including any of Defendants' job positions with substantially similar titles
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      C;)
                26    and/or duties).

                27            6.        During the appropriate time period, Defendants' non-exempt delivery drivers are and were

                28    misclassified as an independent contractor.



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                                                                COMPLAINT FOR DAMAGES

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                       7.      The general obligations and responsibilities of Defendants' deli¥ery drivers are virtually
           2    identical from region to region, district to district, facility to facility, and employee to employee. Any
            3   differences in job activities between the different individuals in these positions were and are legally
           4    insignificant to the issues presented in this action.

            5
           6                                          JURISDICTION AND VENUE
           7            8.     This Court is the proper court, and this action is properly filed in Los Angeles County,
            8   because Defendants' obligations and liability arise therein, because Defendants maintain offices and
           9    transact business within Los Angeles County, Defendants employ numerous "delivery drivers"
           IO   employees in Los Angeles County, and because the work that is the subject of this action was performed
           11   by Plaintiff in Los Angeles County. There is no federal question at issue as the issues herein are based
           12   solely on California statutes and law, including the Labor Code, IWC Wage Orders, Code of Civil
           13   Procedure, Civil Code, and B&PC. Thus, the above entitled court maintains appropriate jurisdiction to
           14   hear this matter.

           15           9.     Plaintiff is informed and believes that the individual claims of California employees are

           16   under the $75,000.00 threshold for Federal diversity jurisdiction and the aggregate claim is under the

           17   $5,000,000.00 threshold for Federal jurisdiction, under the Class Action Fairness Act of 2005.

           18
           19                                                  THE PARTIES

          20                                PLAINTIFF ALEJANDRO GARCIA PUENTES
          21            10.     PlaintiffAlejandro Garcia Puentes ("PUENTES") is an individual over the age of eighteen

          22    (18) and is now, and at all times mentioned in this Compliant, was a citizen of the State of California.
.......
,,_                                                                                                               -
 ....     23            11.     On or about May l, 2018, Plaintiff PUENTES was hired by Defendants to work as a
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          24    delivery driver. Plaintiff PUENTES was a full-time, non-exempt employee. Plaintiff PUENTES worked
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a:,             for Defendants until July 31, 2019.
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           26                                  Misclassification as Independent Contractor

           27           12.     During the period of Plaintiffs employment with Employers, Plaintiff was a non-exempt

           28   employee of Employers, and each of them based upon their alter ego relationship, as defined by California



                                                                        -3-
                                                         COMPLAINT FOR DAMAGES

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               Labor Code §350(b). Throughout the course of Plaintiffs employment, through and including the date
          2    of Plaintiffs wrongful termination, Employers completely controlled Plaintiffs performance, including
          3    the manner in which Plaintiff was to perform Plaintiffs required duties, as follows:
          4                   a.      Defendants provided Plaintiff with all of the equipment, tools and supplies
          5    Plaintiff required to do Plaintiffs job;

          6                   b.      Plaintiff was told what days and hours Plaintiff was required to work, where to go
          7    and what to do, and worked a regular schedule;

          8                   C.      Plaintiff was paid an hourly rate for Plaintiffs labor;

          9                   d.      Plaintiff had no ability to turn down jobs assigned to Plaintiff by Employers; and

          10                  e.      Employers had the right to discipline Plaintiff and to fire Plaintiff at will;

          11           13.    Additional factors confirming Plaintiffs status as an employee include:

          12                  f.      Plaintiff was not engaged in a distinct occupation or business;

          13                  g.      Plaintiff was not required to make any major investments m equipment or
          14   materials to provide the services;

          15                   h.     Plaintiffs occupation and work is usually done under the direction of the principal

          16   or a supervisor;

          17                   I.     No particular skill is required for Plaintiffs occupation;

          18                  J.      Plaintiff was not paid by "the job," but was paid an hourly wage rate;

          19                   k.     Plaintiffs work was part of the regular business of Employers; and

         20                    I.      Plaintiff believed, by going to work for Employers, Plaintiff was creating an

          21   employer-employee relationship;

          22                   m.      Plaintiff was told what days and hours Plaintiff was required to work, where to go
......
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          23   and what to do;
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          24                   n.      Employers failed to comply with the Independent Contractor Reporting
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          25   requirements that required Employers report to the Employment Development Department ("EDD"),
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          26   within 20 days if Employers hired an independent contractor who is an individual or sole proprietorship,

          27   who Employers have either paid, or contracted to pay, more than $600.

          28


                                                                   -4-
                                                          COMPLAINT FOR DAMAGES

                                                                                                        Exhibit B, Page 11
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                         14.    Despite the aforementioned facts, Employers illegally classified Plaintiff as an

           2    "independent contractors" instead of as an employee, and wrongfully issued Plaintiff IRS Form W-1099

            3   forms.

           4             15.    Because Employers misclassified Plaintiff as an independent contractor, at no time during

            5   Plaintiff's employment was Plaintiff paid for all hours worked or overtime premiums, nor was Plaintiff

           6    provided with uninterrupted I 0-minute rest periods as required by law, with uninterrupted meal periods

           7    as required by law, or with itemized wage statements as required by law.

            8            16.    Throughout the period of employment, Plaintiff PUENTES worked on average six days

            9   per week, for a total of approximately 36 hours per week.

           10            17.    Plaintiff PUENTES worked approximately 12 hours per week for which Plaintiff received

           11   no wages at all, not Plaintiff's hourly wage rate, or even the requisite minimum wage.

           12            I 8.   Throughout Plaintiff's employment, Plaintiff was not reimbursed for the expenses he

           13   incurred that were necessary for him to perform his duties, such as gasoline and mileage reimbursement.

           14            19.    Throughout Plaintiff's employment, Plaintiff was not permitted to, and not advised of

           15   Plaintiffs right to take statutory 10-minute rest breaks for every four hours worked or substantial portion

           16   thereof. One or more of Plaintiff's 10-minute rest periods were not provided and/or interrupted

           17   approximately five times per week.

           18            20.    Throughout Plaintiff's employment, Plaintiff did not receive uninterrupted statutory 30-

           19   minute meal periods for days on which Plaintiff worked at least 5 hours, which was each day Plaintiff

          20    worked. One or more of Plaintiff's 30-minute meal periods were not provided approximately 6 times per

          21    week.



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          23
                         21.    Defendants' conduct described herein was undertaken, authorized, and/or ratified by

                Defendants' officers, directors and/or managing agents, including those identified herein as DOES l

                through 20, who were authorized and empowered to make decisions that reflect and/or create policy for
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r,,.)
<:D       25    Defendants. The aforementioned conduct of said managing agents and individuals was therefore
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          26    undertaken on behalf of Defendants who further had advanced knowledge of the actions and conduct of

          27    said individuals whose actions and conduct were ratified, authorized, and approved by managing agents

          28



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                                                       COMPLAINT FOR DAMAGES

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                 whose precise identities are unknown to Plaintiff PUENTES at this time and are therefore identified and
            2    designated herein as DOES l through 20, inclusive.

            3           22.     At all relevant times, Plaintiff PUENTES and the other hourly employees have been non-
            4    exempt employees, and as such, entitled to the protections of the California Labor Code and the Wage

            5    Order. Accordingly, Plaintiff PUENTES and the other hourly employees were entitled to be paid at least

            6    the minimum wages for all hours worked and for overtime premiums for all hours worked over 8 hours

            7    in a single day or over 40 hours in a week.

            8           23.     During his employment, Plaintiff PUENTES and the other hourly employees were not
            9    permitted to take duty-free rest period of at least ten minutes every four hours worked, as required by

           10    California law. Plaintiff PUENTES and/or the other hourly employees were also not provided duty-free

           11    meal periods of at least thirty-minutes every five hours worked.

            12          24.     Defendants secretly paid Plaintiff PUENTES and/or other employees lower wages than

            13   required by statute or contract, failed to maintain working conditions that comply with the Wage Order,

            14   failed to provide them with accurate written wage statements, and failed to timely pay them earned wages

           15    during employment.

            16          25.     Plaintiff PUENTES alleges that as a result of Defendants' systematic time, payro ll policies

            17   and practices, Plaintiff PUENTES and other non-exempt employees were improperly paid during the

            18   time period four (4) years preceding the filing of the original Complaint in the following ways:

            19                  a. Not paid the statutory minimum wage in violation of the California Labor Code;

           20                   b. Not paid the requisite overtime wages;

           21                   c. Not provided with all legally required meal and rest periods in violation of the

           22                       California Labor Code;
......
,_..
 ...       23                   d. Not paid premium wages for each workday in which Defendants failed to provide
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           24                       them with one or more meal periods in violation of the California Labor Code;
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,z,
,__,       25                   e. Not paid premium wages for each workday in which Defendants failed to provide
,:a)
           26                       them with one or more rest breaks in violation of the California Labor Code;

           27                   f. Not provided with accurate written wage statements in violation of the California

           28                       Labor Code;



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                                                        COMPLAINT FOR DAMAGES

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                                        DEFENDANT AMAZON.COM SERVICES LLC
         2           26.     Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

          3   hereto, Defendant AMAZON.COM SERVICES LLC ("AMAZON.COM")was and is a Delaware limited

         4    liability company, organized under the laws of the state of California, qualified to do business and doing

          5   business at 2815 W El Segundo Blvd., in the City of Hawthorne, County of Los Angeles, State of

          6   California. At all relevant times, AMAZON.COM employed 26 or more employees.

          7          27.     Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

          8   hereto, AMAZON.COM owned and operated a retail and delivery company.

          9

         10                                       DEFENDANT AMAZON FLEX
         11          28.     Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

         12   hereto, Defendant AMAZON FLEX ("FLEX") was and is a business entity of unknown form doing

         13   business at 2815 W El Segundo Blvd., in the City of Hawthorne, County of Los Angeles, State of

        14    California. At all relevant times, FLEX employed 26 or more employees.

         15          29.     Plaintiff is informed and believes, and based thereupon alleges, that at all times relevant

         16   hereto, FLEX owned and operated a retail and delivery company.

         17

         18                                         DOES 1 TO 20, INCLUSIVE

         19          30.     DOES l-20, inclusive, are now and/or at all times mentioned in this Complaint, were

        20    licensed to do business or actually doing business in California.

        21           31.     Plaintiff does not know the true names or capacities, whether individual, partner or

        22    corporate, of DOES l to 20, inclusive, and for that reason, DOES l to 20 are sued under such fictitious
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        23    names pursuant to California Code of Civil Procedure ("CCP") §474.
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  .j                 32.     Plaintiff will seek leave of court to amend this Complaint to allege such names and
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(µ      25    capacities as soon as they are ascertained.
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                                                      COMPLAINT FOR DAMAGES

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         2                                               ALL DEFENDANTS
          ".)          33.     At all times relevant herein, Defendants and DOES 1-20 were Plaintiffs employers, joint

         4      employers and/or special employers within the meaning of the Labor Code and Industrial Welfare

          5     Commission Order No. 7-2001 , and are each any "employer or other person acting on behalf of an

          6     employer" as such term is used in Labor Code section 558, and liable to Plaintiff on that basis.

          7            34.     Defendants, and each of them, are now and/or at all times relevant in this Complaint, were

          8     m some manner legally responsible for the events, happenings, and circumstances alleged in this

          9     Complaint.

         10            35.     Defendants, and each of them, proximately subjected Plaintiff to the unlawful practices,

         11     wrongs, complaints, injuries and/or damages alleged in this Complaint.

         12            36.     Defendants, and each of them, are now and/or at all times mentioned in this Complaint

         13     were the agents, servants, and/or employees of some or all other Defendants, and vice-versa, and in doing

         14     the things alleged in this Complaint, Defendants are now and/or at all times mentioned in this Complaint,

         15     were acting within the course and scope of that agency, servitude and/or employment.

         16            37.     Defendants, and each of them, are now and/or at all times mentioned in this Complaint,

         17     were members of and/or engaged in a joint venture, partnership, and common enterprise, and were acting

         18     within the course and scope of, and in pursuance of, said joint venture, partnership, and common

         19     enterprise.

        20             38.     Defendants, and each of them, at all times mentioned in this Complaint, concurred and

        21      contributed to the various acts and omissions of each and every one of the other Defendants in

        22      proximately causing the complaints, injuries and/or damages alleged in this Complaint.
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                       39.
                                       -                                                      -
                               Defendants, and each of them, at all times mentioned in this Complaint, approved of,
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        23

 -.     24      condoned, and/or otherwise ratified each and every one of the acts and/or omissions alleged in this
r--.>
·:D     25      Complaint.
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        26             40.     Defendants, and each of them, at all times mentioned in this Complaint, aided and abetted

        27      the acts and omissions of each and every one of the other Defendants thereby proximately causing the

        28      damages alleged in this Complaint.



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                                                       COMPLAINT FOR DAMAGES

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                        41.      Plaintiff is informed and believes, and based thereupon alleges, that Defendants, and each

             2   of them, including those defendants named as DOES 1-20, acted in concert with one another to commit

             3   the wrongful acts alleged herein, and aided, abetted, incited, compelled and/or coerced one another in the

             4   wrongful acts alleged herein, and/or attempted to do so, including pursuant to Government Code

             5   § l 2940(i). Plaintiff is further informed and believes, and based thereupon alleges, that Defendants, and
             6   each of them, including those defendants named as DOES 1-20, and each of them, formed and executed

             7   a conspiracy or common plan pursuant to which they would commit the unlawful acts alleged herein,

             8   with all such acts alleged herein done as part of and pursuant to said conspiracy, intended to cause and

             9   actually causing Plaintiff harm.

            10          42.      Whenever and wherever reference is made in this complaint to any act or failure to act by

            11   a Defendant or co-Defendant, such allegations and references shall also be deemed to mean the acts

            12   and/or fail ures to act by each Defendant acting individually, jointly and severally.

            13

            14                    ALTER EGO, AGENCY, SUCCESSOR AND JOINT EMPLOYER
            15          43.      Plaintiff is informed and believes, and based thereon alleges, that there exists such a unity

            16   of interest and ownership between AMAZON.COM, FLEX, and DOES 1-20 (collectively "Defendants")

            17   that the individuality and separateness of defendants have ceased to exist.

            18          44.      Plaintiff is informed and believes, and based thereon alleges, that despite the formation of

            19   purported corporate existence, Defendants and DOES 1-20 are, in reality, one and the same as

            20   Defendants, including, but not limited to because:

            21                   a.     Defendants are completely dominated and controlled by DOES 1-20, who

            22   personally committed the frauds and violated the laws as set forth in this complaint, and who have hidden
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......
 .....      23   and currently hide behind Defendants to perpetrate frauds, circumvent statutes, or accomplish some other
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            24   wrongful or inequitable purpose.
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I'- }       25                   b.     DOES 1-20 derive actual and significant monetary benefits by and through
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            26   Defendants' unlawful conduct, and by using Defendants as the funding source for their own personal

            27   expenditures.

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                                                          COMPLAINT FOR DAMAGES

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           l                   c.      Defendants and DOES 1-20, while really one and the same, were segregated to

           2   appear as though separate and distinct for purposes of perpetrating a fraud, circumventing a statute, or

           3   accomplishing some other wrongful or inequitable purpose.
           4                   d.     Defendants do not comply with all requisite corporate formalities to maintain a

           5   legal and separate corporate existence.

           6                   e.      The business affairs of Defendants and DOES 1-20 are, and at all times relevant

           7   were, so mixed and intermingled that the same cannot reasonably be segregated, and the same are in

           8   inextricable confusion. Defendants are, and at all times relevant hereto were, used by DOES 1-20 as a

           9   mere shell and conduit for the conduct of certain of Defendants' affairs, and is, and was, the alter ego of

          10   DOES l-20. The recognition of the separate existence of Defendants would not promote justice, in that

          11   it would permit Defendants to insulate themselves from liability to Plaintiff for violations of the

          12   Government Code and other statutory violations. The corporate existence of Defendants and DOES 1-

          13   20 should be disregarded in equity and for the ends of justice because such disregard is necessary to avoid

          14   fraud and injustice to Plaintiff herein.

          15           45.     Accordingly, Defendants constitute the alter ego of DOES 1-20, and the fiction of their

          16   separate corporate existence must be disregarded.

          17           46.     As a result of the aforementioned facts, Plaintiff is informed and believes, and based

          18   thereon alleges that Defendants and DOES 1-20 are Plaintiff's joint employers by virtue of a joint

          19   enterprise, and that Plaintiff was an employee of Defendants and DOES l-20. Plaintiff performed

          20   services for each and every one of Defendants, and to the mutual benefit of all Defendants, and all

          21   Defendants shared control of Plaintiff as an employee, either directly or indirectly, and the manner in

          22   which Defendants' business was and is conducted.
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.....     23           4 7.    Alternatively, Plaintiff is informed and believes and, based thereupon alleges, that as and
.....
-✓             between DOES 1-20 and Defendants, ( l) there is an express or implied agreement of assumption pursuant
          24
'0"""     25   to which DOES 1-20 agreed to be liable for the debts of Defendants, (2) the transaction between DOES
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          26   1-20, and Defendants amounts to a consolidation or merger of the two corporations, (3) DOES 1-20 is a

          27   mere continuation of Defendants, or (4) the transfer of assets to DOES 1-20 is for the fraudulent purpose

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                                                          COMPLAINT FOR DAMAGES

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          1   of escaping liability for Defendants' debts. Accordingly, DOES 1-20 are the successors of Defendants,

          2   and are liable on that basis.

          3

          4                                     CLASS ACTION ALLEGATIONS
          5           48.     Code of Civil Procedure §382 provides in pertinent part: " ... [W]hen the question is one

          6   of a common or general interest, of many persons, or when the parties are numerous, and it is

          7   impracticable to bring them all before the court, one or more may sue or defend for the benefit of all."

          8   Plaintiff brings this suit as a class action pursuant to CCP §382.

          9           49.     The putative Class Plaintiff will seek to certify are currently composed of "delivery

         10   driver" (as defined supra) who have worked for Defendants in the four years prior to the filing of the

         11   original Complaint herein and through the date of trial, and defined as follows:

         12           50.     All California citizens employed by Defendants as "delivery driver" during the

         13   appropriate time period who were subjected to Defendants' practices regarding the misclassification as

         14   independent contractors as specially described herein (hereinafter, the "Misclassification as Independent

         15   Contractor Class");

         16           51.     All California citizens employed by Defendants as "delivery driver" during the

         17   appropriate time period who were subjected to Defendants' practices regarding the payment of minimum

         18   wages for all hours worked as specifically described herein (hereinafter, the "Minimum Wage Class");

         19           52.     All California citizens employed by Defendants as "delivery driver" during the

         20   appropriate time period who subjected to Defendants' practices regarding the indemnification of business

         21   expenses as specifically described herein (hereinafter, the "Business Expenses Class");

,_.      22           53.     All California citizens employed by Defendants as "delivery driver" during the
,_.
 ....    23   appropriate time period who were subjected to Defendants' practices regarding meal periods as
,_.
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.....    24   specifically described herein (hereinafter, the "Meal Period Class");
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l•.J     25           54.     All California citizens employed by Defendants as "delivery driver" during the
,z,
         26   appropriate time period who were subjected to Defendants' practices regarding rest periods as

         27   specifically described herein (hereinafter, the "Rest Period Class");

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                                                      COMPLAINT FOR DAMAGES

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                       55.      All California citizens employed by Defendants as "delivery driver" during the

            2   appropriate time period who were subjected to Defendants' practices regarding itemized wage statements

            3   as specifically described herein (hereinafter, the "Wage Statement Class");

            4          56.     All California citizens employed by Defendants as "delivery driver" during the

            5   appropriate time period who were subjected to Defendants' practices regarding not being paid

            6   compensation due immediately upon termination or within 72 hours of resignation as specifically

            7   described herein (hereinafter, the "203 Class);

            8          57.     The Misclassification as Independent Contractor Class, Minimum Wage Class, Business

            9   Expenses Class, Meal Period Class, Rest Period Class, Wage Statement Class, and 203 Class are

           10   hereinafter collectively referred to as the "Classes."

           11          58.     Throughout discovery in this litigation, Plaintiff may find it appropriate and/or necessary

           12   to amend the definition of the Classes. Plaintiff will formally define and designate a class definition at

           13   such time when Plaintiff seeks to certify the Classes alleged herein.

           14          59.     Numerositv (Code of Civil Procedure §382):

           15          60.     The potential quantity of Class Members as defined is so numerous that joinder of all

           16   members is unfeasible and impractical;

           17          61.     The disposition of the claims of the Class Members through this class action will benefit

           18   both the parties and this Court;

           19          62.     The quantity of Class Members is unknown to Plaintiff at this time; however, it is

           20   estimated that the membership of the Classes numbers greater than l 00 individuals; and

           21          63.     The quantity and identity of such membership is readily ascertainable via inspection of

           22   Defendants' records;
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.......
           23          64.     Superiority (Code of Civil Procedure §382): The nature of this action and the nature of
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 ....      24   the laws available to Plaintiff make the use of the class action format particularly efficient and the
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           25   appropriate procedure to afford relief to Plaintiff for the wrongs alleged herein, as follows:
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           26          65.     California has a public policy which encourages the use of the class action device;

           27          66.     By establishing a technique whereby the claims of many individuals can be resolved at

           28   the same time, the class suit both eliminates the possibility of repetitious litigation and provides small



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               claimants with a method of obtaining redress for claims which would otherwise be too small to warrant

           2   individual litigation;

           3           67.     This case involves large corporate Defendants and a large number of individual Class

           4   Members with many relatively small claims and common issues of law and fact;

           5           68.     If each individual Class Member were required to file an individual lawsuit, the large
           6   corporate Defendants would necessarily gain an unconscionable advantage because Defendants would

           7   be able to exploit and overwhelm the limited resources of each individual member of the Classes with

           8   Defendants' vastly superior financial and legal resources;

           9           69.     Requiring each individual member of the Classes to pursue an individual remedy would

          10   also discourage the assertion of lawful claims by the members of the Classes who would be disinclined

          11   to pursue an action against Defendants because of an appreciable and justifiable fear of retaliation and

          12   permanent damage to their lives, careers, and well-being;

          13           70.     Proof of a common business practice of factual pattern, of which the Class Members

          14   experienced, is representative of the Classes herein and will establish the right of each of the Class

          15   Members to recover on the causes of action alleged herein;

          16           71.     Absent class treatment, the prosecution of the separate actions by the individual members

          17   of the Classes, even if possible, would likely create:

          18                                  i)      a substantial risk of each individual plaintiff presenting in separate,

          19                                  duplicative proceedings, the same or essentially similar arguments and

          20                                  evidence, including expert testimony;

          21                                  ii)     a multiplicity of trials conducted at enormous expense to both the

          22                                  judicial system and the litigants;
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          23                                  iii)    inconsistent or varying verdicts or adjudications with respect to the
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          24                                  individual Class Members against Defendants;
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0         25                                  iv)     potentially incompatible standards of conduct for Defendants; and
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i:Z,
          26                                  v)      potentially incompatible legal determinations with respect to

          27                                  individual Class Members with would, as a practical matter, be dispositive

          28                                  of the interest of the other Class Members who are not parties to the



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                                                 adjudication or which would substantially impair or impede the ability of

               2                                 the members of the Classes to protect their interests.

               3          72.     The claims of the individual Class Members are not sufficiently large to warrant vigorous

               4   individual prosecution considering all of the concomitant costs and expenses attendant thereto;

               5          73.     Courts seeking to preserve efficiency and other benefits of class actions routinely fashion

               6   methods to manage any individual questions; and

               7          74.     The Supreme Court of California urges trial courts, which have an obligation to consider

               8   the use of innovative procedural tools to certify a manageable class, to be procedurally innovative in

..             9   managing class actions.

              10          75.     Well-defined Community oflnterest: Plaintiff also meets the establish standards for class

              ll   certification (see, e.g. Lockheed Martin Corp. v. Superior Court (2003) 29 Cal. 4h 1096), as follows:

              12          76.     Typicality: The claims of Plaintiff PUENTES are typical of the claims of all members of

              13   the Classes he seeks to represent because he has been subject to all of the violations described herein, as

              14   have all Class Members sustained injuries and damages arising out of Defendants' common course of

              15   conduct in violation of law and the injuries and damages of all Class Members were caused by

              16   Defendants' wrongful conduct in violation of law, as alleged herein.

              17          77.     Adequacy: Plaintiff PUEN TES

              18                          i)     is an adequate representative of the Classes he seeks to represent;

              19                          ii)    will fairly protect the interests of the members of the Classes;

              20                          iii)    has no interests antagonistic to the Class Members; and

              21                                  iv)    will vigorously pursue this suit via attorneys who are competent,

              22                                 skilled and experienced in litigating matters of this type.
     ...
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     ,-~·                 78.     Predominant Common Questions of Law or Fact: There are common questions of law
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     .....    24   and/or fact as to the members of the Classes which predominate over questions affecting only individual
     "'--'
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     t,..J    25   members of the Classes, including, without limitation:
     a,
              26                          i)      Whether Defendants paid the appropriate overtime wages to the members

              27                                 of the Misclassification as Independent Contractor Class;

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                                                          COMPLAINT FOR DAMAGES

                                                                                                          Exhibit B, Page 21
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            1                          ii)     Whether Defendants paid the appropriate minimum wages to the members

            2                                  of the Minimum Wage Class;

            3                          iii)    Whether Defendants failed and continue to fail to authorize and permit

            4                                  legally-requisite rest and meal periods to the members of the Rest Period

            5                                  Class and Meal Period Class in violation of the Labor Code and Section 12

            6                                  of the IWC Wage Orders;

            7                          iv)     Whether Defendants failed to timely furnish accurate, itemized and legal

            8                                  wage statements to the members of the Wage Statement Class;

            9                          v)      Whether Defendants are derivatively liable pursuant to Labor Code §203

           10                                  to the members of the 203 Class;

           11                          vi)     Whether Defendants' conduct constitutes unfair, illegal, or fraudulent

           12                                  competition within the meaning of B&PC § 17200, et seq.;

           13                          vii)    Whether Defendants' conduct constitutes unfair, illegal, or :fraudulent

           14                                  business practices within the meaning ofB&PC § 17200, et seq.;

           15                          viii)   Whether the members of the Classes are entitled to compensatory damages,

           16                                  and if so, the means of measuring such damages;

           17                          ix)     Whether the members of the Classes are entitled to injunctive relief;

           18                          x)      Whether the members of the Classes are entitled to restitution; and

           19                          xi)     Whether Defendants are liable for attorneys' fees and costs.

           20           79.    Whether each member of the Classes might be required to ultimately justify an indiv idual

           21   claim does not preclude maintenance of a class action (see, e.g. Collins v. Rocha ( 1972) 7 Cal .3d 232,

           22   238).
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 ....      24                                         FIRST CAUSE OF ACTION
,.,_,
a:>                            FOR MISCLASSIFICATION AS "INDEPENDENT CONTRACTOR"
IV         25
=          26                                       AGAINST ALL DEFENDANTS

           27           80.    Plaintiff, and the putative class, re-allege and incorporate by reference the above

           28   paragraphs as though set forth in full herein.



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                                                        COMPLAINT FOR DAMAGES

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           l           81.      Pursuant to Labor Code §226.8(a)(l), it is unlawful for any person or employer to engage

           2   in willful misclassification of an individual as an independent contractor. Pursuant to Labor code

           3   §226.8(b), if a court issues a determination that a person or employer has violated subdivision (a), the

           4   person or employer shall be subject to a civil penalty of not less than five thousand dollars ($5,000.00)

           5   and not more than fifteen thousand dollars ($15,000.00) for each violation, in addition to any other

           6   penalties or fines permitted by law. Pursuant to Labor code §226.8(c), if a court issues a determination

           7   that a person or employer has violated subdivision (a) and the person or employer has engaged in or is

           8   engaging in a pattern or practice of these violations, the person or employer shall be subject to a civil

           9   penalty of not less than ten thousand dollars ($10,000.00) and not more than twenty-five thousand dollars

          10   ($25 ,000.00) for each violation, in addition to any other penalties or fines permitted by law.

          11           82.      , and each of them based upon their alter ego relationship, as defined by California Labor

          12   Code §350(b). However, Defendants purposefully misclassified Plaintiff as an "Independent Contractor"

          13   because, by so doing, Defendants lowered their cost of doing business by means of, but not limited to,

          14   the following:

          15                    a.     Defendants did not report or pay the employer's share of federal or state payroll

          16   taxes with respect to any of the funds paid to Plaintiff, as required by required by federal and state law;

          17                    b.     Defendants did not provide or pay for Workers Compensation insurance for

          18   Plaintiff;

          19                    c.     Defendants did not provide or pay for State Disability insurance for Plaintiff; and

          20                    d.     Defendants did not provide or pay for benefits to Plaintiff that other of

          21   Defendants ' employees received.

,_,.      22           83.      As a direct and proximate result of the aforementioned violations of California law
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          23   committed by Defendants, Plaintiff has suffered, and continues to suffer, substantial losses related to the
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 -...     24   loss of the employer's share of payroll taxes, the use and enjoyment of such employee benefits, and
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t-..J     25   expenses and attorneys' fees in seeking to compel Defendants to fully perform their obligation under
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          26   state law, all to their damage in amounts according to proof at time of trial, but in amounts in excess of

          27   the minimum jurisdiction of this Court.        Plaintiff is thus entitled to recover nominal, actual and

          28



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                                                        COMPLAINT FOR DAMAGES

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            l   compensatory damages in amounts according to proof at time of trial, but in amounts in excess of the
            2   minimum j urisdiction of this Court.
            3             84.   Defendants' failure to classify Plaintiff as an employee, in violation of California law, was
            4   knowing and intentional. Defendants have refused to classify Plaintiff as an employee for false and
            5   fraudulent reasons. The decision to misclassify Plaintiff as an "independent contractor" was made,
            6   maintained, and enforced by Defendants, by and through their offices, directors and/or managing agents,

            7   and was done willfully, maliciously, oppressively, and fraudulently, with the wrongful and deliberate

            8   intention of inj uring Plaintiff, and with a conscious disregard for Plaintiffs rights and defendants'
            9   obl igations under California laws, all of which has deprived Plaintiff of Plaintiffs property and legal

           10   rights. Therefore, in addition to all other types of relief requested herein, Plaintiff is entitled to recover

           11   punitive and exemplary damages in amounts according to proof at time of trial, but in amounts in excess

           12   of the minimum jurisdiction of this Court.

           13             85.   Pursuant to Labor Code §226.8(b)-(c), Plaintiff seeks a determination that Defendants
           14   have violated subdivision (a) and have engaged in or are engaging in a pattern or practice of these

           15   violations, and seeks penalties of $25,000.00 for each violation, in addition to any other penalties or fines

           16   permitted by law.

           17
           18                                        SECOND CAUSE OF ACTION

           19                                   FOR FAILURE TO PAY WAGES DUE

           20                           LABOR CODE §§201, 226.7, 512, 1182.12, 1194, 1194.2

           21                                        AGAINST ALL DEFENDANTS

           22             86.   Plaintiff, and the putative class, re-allege and incorporate by reference the above
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 ....
,,_.       23   paragraphs as though set forth in full herein.
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....       24             87.   At all relevant times, Defendants failed and refused to pay Plaintiff wages earned and
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t--.,.>    25   required by 8 Code of Regulations § l l 070, as set forth hereinabove. As alleged herein, Defendants
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           26   routinely failed to pay Plaintiff the correct minimum wage and compensation for missed rest and meal

           27   breaks.

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                                                        COMPLAINT FOR DAMAGES

                                                                                                          Exhibit B, Page 24
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              l          88.     As alleged herein, Plaintiff was not exempt from the requirements of Labor Code §510, 8

              2   Code of Regulations §11070, and Industrial Welfare Commission Order No. 7-200 l.

              3          89.      Plaintiff has been deprived of Plaintiff's rightfully earned compensation as a direct and

              4   proximate result of Defendants' failure and refusal to pay said compensation. Plaintiff is entitled to

              5   recover such amounts, plus interest thereon, attorneys' fees and costs.

              6

              7                                        TIDRD CAUSE OF ACTION
              8                               FOR FAILURE TO PAY MINIMUM WAGES
              9                                LABOR CODE §§1182.12, 1194, 1194.2, 1197,
             10                         IWC WAGE ORDER NO. 7, MINIMUM WAGE ORDER
             11                                       AGAINST ALL DEFENDANTS
             12          90.     Plaintiff, and the putative class, re-allege and incorporate by reference the above

             13   paragraphs as though set forth in full herein.

             14          91.     At all relevant times, Labor Code §1182.12., 1197, IWC Wage Order 7-2001, and the

             15   Minimum Wage Order were in full force and effect and required that Defendant's employees receive the

             16   minimum wage for all house worked. Pursuant to Labor Code§ 1197, payment of less than the minimum

             17   wage fixed by law is unlawful. An employer violates the minimum wage statute even if the average rate

             18   for paid and unpaid hours exceeded the minimum wage.

             19          92.     At all relevant times, Defendants failed and refused to pay Plaintiff the legal minimum

             20   wage in the State of California, as set forth in Labor Code §1182.12.

             21          93.     At all relevant times, Defendants employed 26 or more employees.

,_.          22          94.     Under California law, Plaintiff is entitled to at least the minimum wage for every hour
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 .,,_        23   worked.
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             24          95.     Defendant's failure to pay the legal minimum wage to Plaintiff, and other similarly
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•8                aggrieved employees, as alleged herein is unlawful and creates entitlement, pursuant to Labor Code
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             26   §1197, to recovery by Plaintiff, and other similarly aggrieved employees, in a civil action for the unpaid

             27   balance of the full amount of the unpaid wages owed, calculated as the difference between the straight

             28   time compensation paid and applicable minimum wage, including interest thereon.



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                                                          COMPLAINT FOR DAMAGES

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                      96.     Plaintiff and other similarly aggrieved employees have been deprived of minimum wages
           2   due in amounts to be determined at trial, and to additional amounts as liquidated damages, pursuant to
           3   Labor Code §§ l l 94 and l l 94.2.
           4          97.     By violating Labor Code §§ 1182.11, 1182. 12, and 1197, IWC Wage Order No. 7, and
           5   the Minimum Wage Order, Defendant is also liable for reasonable attorneys' fees and costs under Labor
           6   Code§ 1194.
           7          98.     Plaintiff, on behalf of himself, and other similarly situated employees, request relief as

           8   described below.
           9                                        FOURTH CAUSE OF ACTION
          10             FOR FAILURE TO INDEMNIFY FOR NECESSARY BUSINESS EXPENSES
          11                                             LABOR CODE §2802

          12                                        AGAINST ALL DEFENDANTS
          13          99.     Plaintiff, and the putative class, re-allege and incorporate by reference the above
          14   paragraphs as though set forth in full herein.

          15           100.   Pursuant to Labor Code §450(a), "no employer ... may compel or coerce any

          16   employee ... to patronize his or her employer, or any other person, in the purchase of any thing of value."

          17           101.   Pursuant to Labor Code §2802(a), "an employer shall indemnify his or her employee for

          18   all necessary expenditures or losses incurred by the employee in direct consequence of the discharge of

          19   his or her duties, or of his or her obedience to the directions of the employer."

          20           102.   Plaintiff was required by Defendants to expend Plaintiffs personal funds because of the

          21   duties required by Defendants, as alleged hereinabove.

          22           103.   Pursuant to Labor Code §2802(a), Defendants are legally required to reimburse Plaintiff
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          23   for all necessary expenditures incurred in the performance of Plaintiffs duties.

          24           104.   Defendants have failed and refused to reimburse Plaintiff for all necessary business
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,z,            expenditures, including gasoline and mileage.
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          26           105.   As a proximate result of the aforementioned violations of Labor Code §§450(a) and

          27   2502(a), Plaintiff is entitled to recover from Defendants the unpaid balance of all of the necessary

          28   aforementioned expenditures.



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                                                       COl'vfPLAINT FOR DAMAGES

                                                                                                      Exhibit B, Page 26
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                      l 06.   As a proximate result of the aforementioned violations of Labor Code §§450(a) and

          2   2502(a), Plaintiff has been damaged in an amount according to proof at the time of trial.

          3           l 07.   Pursuant to Labor Code §2802(b), Plaintiff requests that the Court award interest at the

          4   same rate as judgments in civil actions, accruing from the date on which Plaintiff incurred the necessary

          5   expenditure or loss.

          6           108.    Pursuant to Labor Code §2802(c), Plaintiff requests that the Court award P laintiff

          7   reasonable attorneys' fees and costs incurred in this action.

          8                                         FIFTH CAUSE OF ACTION

          9                          FOR FAILURE TO PROVIDE MEAL AND REST BREAKS

         10                                       LABOR CODE §§226.7 AND 512

         11                      AGAINST ALL DEFENDANTS AND DOES 1-20, INCLUSIVE

         12           l 09.   Plaintiff, and the putative class, re-allege and incorporate by reference the above

         13   paragraphs as though set forth in full herein.

         14           110.    Labor Code §512 requires employers to provide every employee with an uninterrupted

         15   meal period of not less than 30 consecutive minutes, for every period of work exceeding five hours.

         16           111 .   Labor Code §226.7 requires an employer to provide every employee with an uninterrupted

         17   rest period of not less than l Ominutes, for every period worked in excess of four hours.

         18           112.    Plaintiff, and other s imilarly situated aggrieved employees, regularly worked in excess of

         19   five hours per day, and was thereby entitled to take uninterrupted 30-minute meal periods and 10-minute

         20   rest periods on each day of work.

         21           113.    Defendants failed and refused to provide Plaintiff, and other similarly situated aggrieved

         22   employees, with uninterrupted meal and rest periods, and failed to compensate Plaintiff, and other
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..._     23   similarly situated aggrieved employees, for missed meal and rest periods, as required by Labor Code
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,.J           §§226.7 and the applicable sections of 8 Code ofRegulations§ 11070 and Industrial Welfare Commission
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a:,      25   Order No. 7-2001 , as follows. When Defendant compensated Plaintiff and other similarly aggrieved
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         26   employees, for missed meal and rest breaks, Defendant failed compensate them at the proper wage rate.

         27           114.    Plaintiff, and other similarly aggrieved employees, have been deprived of wages for

         28   missed meal and rest breaks due in amounts to be determined at trial.



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                                                      COMPLAINT FOR DAMAGES

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                         115.   As alleged herein, Plaintiff, and other similarly aggrieved employees, are not exempt from

           2   the meal and rest break requirements of 8 Code of Regulations §11070 and Industrial Welfare

           3   Commission Order No. 7-2001. Consequently, Plaintiff, and other similarly aggrieved employees, are

           4   owed one hour of pay at his or her then regular hourly rate, or the requisite minimum wage, whichever

           5   is greater, for each day that he or she was denied such meal periods, and is owed one hour of pay at his

           6   or her regular hourly rate, or the requisite minimum wage, whichever is greater, for each day that he or

           7   she was denied such rest periods, calculated as follows.

           8             116.   Plaintiff, and other similarly aggrieved employees, have been deprived of his or her

           9   rightfully earned compensation for meal and rest breaks as a direct and proximate result of Defendant's

          10   failure and refusal to pay said compensation.

          11             117.   Thus, for the entirety of the time periods set forth above, Plaintiff, and other similarly

          12   aggrieved employees, are entitled to recover such amounts to be determined at trial pursuant to Labor

          13   Code §226.7(b), plus interest thereon and costs of suit.

          14                                          SIXTH CAUSE OF ACTION

          15                      FAILURE TO PROVIDE ITEMIZED WAGE STATEMENTS

          16                                       LABOR CODE §§226 ET SEO.

          17                      AGAINST ALL DEFENDANTS AND DOES 1-20, INCLUSIVE

          18             118.   Plaintiff, and the putative class, re-allege and incorporate by reference the above

          19   paragraphs as though set forth in full herein.

          20             119.   Pursuant to Labor Code §§226 and 1174, employers have a duty to provide their non-

          21   exempt employees with itemized statements showing total hours worked, hourly wages, gross wages,

          22   total deductions and net wages earned. An employer who violates these code sections is liable to its
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          23   employees for the greater of actual damages suffered by the employee, or $50.00 in civil penalties for the
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          24   initial pay period in which a violation occurred, and $100.00 per employee fo r each subsequent pay
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t-..J     25   period, up to a statutory maximum of $4,000.00. Pursuant to Labor Code §226(e)(2), an employee is
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          26   deemed to suffer injury for purposes of this subdivision if the employer fails to provide a wage statement

          27   at all.

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                                                        COMPLAINT FOR DA.tviAGES

                                                                                                       Exhibit B, Page 28
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            l             120.   In addition, thereto, pursuant to Labor Code §226.3, an employer who willfully violates

           2      Labor Code §226 is subject to a $250.00 civil penalty for the initial pay period in w hich a violation
           ...,
           .)     occurred, and $1 ,000.00 per employee for each subsequent pay period, with no maximum.

           4             121.    At all relevant times, Defendant failed to provide the Plaintiff, and other similarly situated

           5      and aggrieved employees with timely and accurate wage and hour statements showing gross wages

           6      earned, total hours worked, all deductions made, net wages earned, the name and address of the legal

           7      entity employing Plaintiff, and other similarly situated and aggrieved employees, and all applicable hours

           8      and rates in effect during each pay period and the corresponding number of hours worked at each hourly

           9      rate by Plaintiff. Not one of the paystubs that Plaintiff, and other similarly situated and aggrieved

          IO      employees, received complied with Labor Code §226, and contained almost none of the required

          11      information, including hours actually worked.

          12              122.   As alleged herein, Plaintiff and the putative class are not exempt from the requirements

          13      of Labor Code §226.

          14              123.   This failure has injured Plaintiff, and other similarly situated and aggrieved employees,

          15      by misrepresenting and depriving them of hour, wage, and earnings information to which each of them

          16      is entitled, causing each of them difficulty and expense in attempting to reconstruct time and pay records,

          17      causing each of them not to be paid wages they are entitled to, causing each of them to be unable to rely

          18      on earnings statements in dealings with third parties, eviscerating their right under Labor Code §226(b)

          19      to review itemized wage statement information by inspecting the employer's underlying records, and

          20      deceiving them regarding their entitlement to minimum wages, meal period and rest period wages. For

          21      the time periods that Plaintiff, and other similarly situated and aggrieved employees, were not provided

          22      with paystubs at all, their aforementioned injuries are presumed as a matter of law.
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,-                        124.   Plaintiff, and other similarly situated and aggrieved employees, were paid on a bi-weekly
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 ....     24      basis, and therefore Defendant violated Labor Code §226 numerous times during the last year that
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          25      Plaintiff, and other similarly situated and aggrieved employees, worked for Defendant. Consequently,
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a,
          26      Defendant is liable to Plaintiff, and other similarly situated and aggrieved employees, for each of their

          27      actual damages, or penalties in the statutory maximum amount of $4,000.00, whichever is greater.

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                                                          COMPLAINT FOR DAMAGES

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                  1           125.   In addition, thereto, Plaintiff, and other similarly situated and aggrieved employees, are
                  2   each entitled to civil penalties pursuant to Labor Code §226.3 in the amount to be determined at trial.

                  3           126.   Based on Defendants' conduct as alleged herein, Defendant is liable for damages and

                  4   statutory penalties pursuant to Labor Code §226, civil penalties pursuant to Labor Code §226.3, and other

                  5   applicable provisions, as well as attorneys' fees and costs.

                  6                                       SEVENTH CAUSE OF ACTION
                  7                                     FOR WAITING TIME PENALTIES
                  8                                           LABOR CODE §§201-203
..,               9                             AGAINST ALL DEFENDANTS, AND DOES 1-20
                 10           127.   Plaintiff, and the putative class, re-allege and incorporate by reference the above

                 11   paragraphs as though set forth in full herein.

                 12           128.    At all relevant times, Defendants failed to pay all of the similarly situated and aggrieved

                 13   employees accrued wages and other compensation due immediately upon termination or within 72 hours

                 14   of resignation, as required. These wages refer to, at a minimum, unpaid minimum wages, overtime

                 15   compensation, and meal and rest period compensation that Defendants should have paid, but did not pay

                 16   to Plaintiff during the term of the similarly situated and aggrieved employees' employment and which

                 17   were, at the latest, due within the time restraints of Labor Code §§201-203.

                 18           129.   As alleged herein, the similarly situated and aggrieved employees are not exempt from

                 19   the requirements of Labor Code §§201-203.

                 20           130.   As a direct and proximate result of Defendants' willful failure to pay these wages, the

                 21   similarly situated and aggrieved employees are entitled to payment of their overtime, meal and rest

                 22   periods as previously pleaded herein, and in wait time penalties according to proof, calculated based on
      t-"
      t-"
                 23   30 days of the similarly situated and aggrieved employees' daily wage rate.
      t-"

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                 24           131.   Based on Defendants' conduct as alleged herein, Defendants are liable for an amount
      0               according to proof in statutory penalties pursuant to Labor Code §203 and other applicable provisions,
      N          25
      ,:::::,

                 26   as well as attorneys' fees and costs.

                 27

                 28



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                                                              COMPLAINT FOR DAMAGES

                                                                                                             Exhibit B, Page 30
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           1                                        EIGHTH CAUSE OF ACTION
           2                                       FOR UNFAIR COMPETITION
           3                          BUSINESS & PROFESSIONS CODE §§17200, ET SEQ.
           4                                       AGAINST ALL DEFENDANTS
           5           132.   Plaintiff, and the putative class, re-allege and incorporate by reference the above

           6   paragraphs as though set forth in full herein.

           7           133.   Defendants' violations of 8 Code of Regulations § 11070, Industrial Welfare Commission

           8   Order No. 7-2001 , Labor Code §§201-203, 226,226.7, 512, 1182.12, 1194, 1194.2, 1197, 2699, and

           9   other applicable provisions, as alleged herein, including Defendants' failure and refusal to pay minimum

          10   wages, Defendants' failure to provide meal and rest breaks, Defendants' failure to provide timely and

          11   accurate wage and hour statements, Defendants' failure to pay compensation due in a timely manner

          12   upon termination or resignation, and Defendants ' failure to maintain complete and accurate payroll

          13   records for the Plaintiff, constitute unfair business practices in violation of Business & Professions Code

          14   §§ 17200, et seq.

          15           134.   As a result of Defendants' unfair business practices, Defendants have reaped unfair

          16   benefits and illegal profits at the expense of Plaintiff and members of the public. Defendants should be

          17   made to disgorge their ill-gotten gains and restore such monies to Plaintiff.

          18           135.   Defendants' unfair business practices entitle Plaintiff to seek preliminary and permanent

          19   injunctive relief, including but not limited to orders that the Defendants account for, disgorge, and restore

          20   to the Plaintiff the overtime compensation and other monies and benefits unlawfully withheld from

          21   Plaintiff.

          22                                            PRAYER FOR RELIEF
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 .,,_     23           WHEREFORE, Plaintiff, on behalf of himself and all other similarly situated employees, prays:
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          24           1.     That the Court issue an Order certifying the Classes herein, appointing the named
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0              Plaintiff as representative of all others similarly situated, and appointing the law firm(s) representing
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=         26   the named Plaintiff as counsel for the Class Members;

          27   As to the First Cause of Action for Misclassification as Independent Contractor:

          28           a. For civil penalties as allowed by Labor Code §§226.8;



                                                                   -24-
                                                       COMPLAINT FOR DAMAGES

                                                                                                        Exhibit B, Page 31
          Case 2:21-cv-00414-FLA-SK Document 1-3 Filed 01/15/21 Page 26 of 28 Page ID #:53




            1    As to the Second Cause of Action for Failure to Pay Wages:

            2           a. For recovery of the unpaid balance of the full amount of wages due and owing, according to
            'I
            .)             proof;

            4           b. For prejudgment interest as allowed by Labor Code §§201, 226.7, 512,558, 1182.12, 1194,

            5               1194.2;

            6           c. For an award of reasonable attorneys' fees and costs pursuant to Labor Code §218.5 and/or

            7              Labor Code § l I 94(a);

            8    As to the Third Cause of Action for Failure to Minimum Wages:

            9           a. For recovery of the unpaid balance of the full amount of wages due and owing, according to

           10               proof;

           11           b. Liquidated damages as allowed by the Labor Code §§ 1194 and 1194.2;

           12           c. For prejudgment interest, as allowed by Labor Code§§ 1194 and 1194.2;

           13           d. For an award of reasonable attorneys' fees and costs pursuant to Labor Code § l l 94(a);

           14    As to the Fourth Cause of Action for Failure to Indemnify for Business Expenses:

           15           a. For recovery of the unpaid balance of all necessary business expenditures under Labor Code

           16               §2802(a);

           17    As to the Fifth Cause of Action for Failure to Authorize and Permit Meal and Rest Periods:

           18           a. For one ( 1) hour of pay at the regular rate of compensation for each member of the Unpaid

           19              Meal Period Class for each workday that a paid meal period was not provided;

           20           b. For one (l) hour of pay at the regular rate of compensation for each member of the Unpaid

           21              Rest Period Class for each workday that a paid rest period was not provided;

           22           c. For prejudgment interest as allowed by Labor Code §218.6 and Civil Code §3287;
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.......
           23    As to the Sixth Cause of Action for Failure to Provide Itemized Wage Statements:
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           24           a. For recovery as authorized by Labor Code §226(e) and 226.3;
rv
0                       b. For an award of costs and reasonable attorneys' fees pursuant to Labor Code §226(e) and/or
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           26              §226(g);

           27    As to the Seventh Cause of Action for Waiting Time Penalties:

           28           a. For recovery as authorized by Labor Code §203;



                                                                   -25-
                                                       COMPLAINT FOR DAMAGES

                                                                                                     Exhibit B, Page 32
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          1          b. For an award of reasonable attorneys' fees and costs pursuant to Labor Code §203 and/or

          2               Labor Code §l 194(a);

          3   As to the Eighth Cause of Action for Unfair Competition:

          4          a. For an accounting, under the administration of Plaintiff and/or the receiver and subject to

          5               Court review, to determine the amount to be returned by Defendants, and the amounts to be

          6               refunded to members of the Classes who are owed monies by Defendants;

          7          b. For an Order requiring Defendants to identify each of the members of the Classes by name,

          8               home address, home telephone number and, if available, email address;

          9          c. For an Order requiring Defendants to make full restitution and payment pursuant to

         IO               California law;

         11          d. For an Order for a preliminary and/or permanent injunction prohibiting Defendants from

         12               engaging in the acts complained of herein;

         13          e. For all other appropriate injunctive, declaratory and equitable relief;

         14          f.   For interest to the extent permitted by law;

         15          g. For an award of attorneys' fees and costs incurred in the investigation, filing and prosecution

         16               of this action pursuant to CCP § l 02 l.5, B&PC § l 7200, et seq., Labor Code § 1194 and/or

         17               any other applicable provision of law;

         18   As to All Causes of Action:

         19          a. For such relief as this Court may deem just and proper, including reasonable attorneys' fees

         20               and costs incurred.

         21
              DATED: November 3, 2020                              LAW OFFICES OF RAMIN R. YOUNESSI
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         22                                                        A PROFESSIONAL LAW CORPORATION
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         24                                                        By:
                                                                          Ramin R. Younessi, Esq.
,:Z)
tv       25                                                               Attorney for Plaintiff
0                                                                         ALEJANDRO GARCIA PUENTES, on
         26                                                               behalf of himself, and all others similarly
                                                                          situated
         27

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                                                      COMPLAINT FOR DAMAGES

                                                                                                       Exhibit B, Page 33
        Case 2:21-cv-00414-FLA-SK Document 1-3 Filed 01/15/21 Page 28 of 28 Page ID #:55




                                                   JURY TRIAL DEMANDED
          2        Plaintiff demands trial of all issues by j ury.
          3
              DATED: November 3, 2020                            LAW OFFICES OF RAMIN R. YOUNESSI
          4                                                      A PROFESSIONAL LAW CORPORATION
          5
          6                                                      By:
                                                                        Ramin R. Younessi, Esq.
          7                                                             Attorney for Plaintiff
                                                                        ALEJANDRO GARCIA PUENTES, on
          8                                                             behalf of himself, and all others similarly
                                                                        situated
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                                                     COrv!PLAINT FOR DAMAGES

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